     Case 4:21-cv-02155-YGR         Document 767    Filed 05/14/25   Page 1 of 3




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10                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
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                                    OAKLAND DIVISION
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     IN RE GOOGLE RTB CONSUMER                     Case No. 4:21-CV-02155 YGR (VKD)
13   PRIVACY LITIGATION
                                                   [PROPOSED] ORDER TO VACATE
14                                                 CASE DEADLINES AND SET
15   This document applies to all actions.         MOTION FOR SETTLEMENT
                                                   APPROVAL DEADLINE
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                                                                 Case No. 4:21-cv-02155-YGR
         [PROPOSED] ORDER TO VACATE CASE DEADLINES AND SET SETTLLEMENT APPROVAL FILING
     Case 4:21-cv-02155-YGR          Document 767        Filed 05/14/25      Page 2 of 3




 1          In light of the parties’ May 7, 2025 Notice of Proposed Settlement (ECF No. 766) and request
 2 to vacate all pending deadlines in light of the settlement, the Court hereby vacates all pending

 3 deadlines. Plaintiffs shall file their motion for approval of the proposed settlement on or before July

 4 11, 2025.

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 6 IT IS SO ORDERED.

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 8 Dated: __________________, 2025
                                                            Hon. Yvonne Gonzalez Rogers
 9                                                          United States District Court Judge
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                                                                  Case No. 4:21-cv-02155-YGR
          [PROPOSED] ORDER TO VACATE CASE DEADLINES AND SET SETTLLEMENT APPROVAL FILING
     Case 4:21-cv-02155-YGR          Document 767        Filed 05/14/25      Page 3 of 3




 1
                                            ATTESTATION
 2

 3
           I, Bethany Caracuzzo, attest that concurrence in the filing of this document has been obtained
 4
     from counsel for Google LLC. Executed on May 14, 2025 in Emeryville, California.
 5
                                                                /s/ Bethany Caracuzzo
 6                                                              Bethany Caracuzzo
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                                               2                  Case No. 4:21-cv-02155-YGR
            [PROPOSED] ORDER GRANTING PLAINTIFFS’ RENEWED MOTION FOR CLASS CERTIFICATION
